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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA


IN RE PORK ANTITRUST                               Civil No. 18-cv-01776-JRT-HB
LITIGATION




This Document Relates to:


All Consumer Indirect Purchaser Actions




            ORDER ON STIPULATION OF CONSENT FOR LEAVE TO FILE
                CONSUMER INDIRECT PURCHASER PLAINTIFFS’
        THIRD CONSOLIDATED AMENDED CLASS ACTION COMPLAINT

          Pursuant to the Stipulation of Consent for Leave to File Consumer Indirect

Purchaser Plaintiffs’ Third Consolidated Amended Class Action Complaint (ECF No.

779) entered into by the parties, and finding that good cause has been shown,

         IT IS HEREBY ORDERED that the Stipulation (ECF No. 779) is APPROVED.

Consumer Indirect Purchaser Plaintiffs are granted leave to file their Third Consolidated

Amended Complaint. Defendants are not required to answer the Third Consolidated

Amended Complaint, and all admissions and denials as to factual allegations and all

affirmative defenses in Defendants’ prior answers to the Second Amended Complaint

remain operative.

DATED: June 1, 2021
                                                  HILDY BOWBEER
                                                  United States Magistrate Judge.



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